                 Case 2:21-cv-01332-BJR Document 12 Filed 10/29/21 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON

 9   MALLARD IP LLC,                                   )
                                                       )
10                                        Plaintiff,   )   NO. 2:21-cv-01332-BJR
                                                       )
11          v.                                         )   STIPULATED AGREEMENT AND
                                                       )   ORDER TO EXTEND DEADLINE FOR
12   INSPUR SYSTEMS, INC.,                             )   FILING ANSWER BY INSPUR
                                                       )   SYSTEMS, INC.
13                                   Defendant.        )
                                                       )
14                                                     )
                                                       )
15                                                     )

16                                            STIPULATION
17          COME NOW Plaintiff and Defendant Inspur Systems, Inc., (“Inspur”) and agree that
18   Inspur may have an extension of thirty (30) days to November 29, 2021, in which to answer the
19   Complaint for Patent Infringement.
20          DATED this 28th day of October, 2021.
21                                                 MERRICK, HOFSTEDT & LINDSEY, P.S.
22                                                 By /s/ Tamara K. Nelson
                                                      Tamara K. Nelson, WSBA #27679
23                                                    Merrick, Hofstedt & Lindsey, P.S.
24                                                    3101 Western Avenue, Suite 200
                                                      Seattle, WA 98121
25                                                    Business: 206-682-0610
                                                      Fax: 206-467-2680
26                                                    tnelson@mhlseattle.com

                                                                      MERRICK, HOFSTEDT & LINDSEY, P.S.
     STIPULATED AGREEMENT AND ORDER TO EXTEND DEADLINE                       ATTORNEYS AT LAW
     FOR FILING ANSWER BY INSPUR SYSTEMS, INC. - 1                      3101 WESTERN AVENUE, SUITE 200
                                                                         SEATTLE, WASHINGTON 98121
     Case No. 2:21-cv-01332-MLP                                                 (206) 682-0610
              Case 2:21-cv-01332-BJR Document 12 Filed 10/29/21 Page 2 of 2




 1
                                                Of Attorneys for Defendant Inspur Systems, Inc.
 2

 3          DATED this 28th day of October, 2021.
 4

 5                                              By /s/ Philip Mann
                                                   Philip P. Mann, WSBA #28860
 6                                                 MANN LAW GROUP PLLC
                                                   403 Madison Ave. N. Ste. 240
 7                                                 Bainbridge Island, WA 98110
                                                   Phone: 206-436-0900
 8                                                 email: phil@mannlawgroup.com
 9
                                                By /s/ Cortney S. Alexander__________________
10                                                 Cortney S. Alexander (admitted pro hac vice)
                                                   Kent & Risley LLC
11                                                 5755 N. Point Pkwy, Ste 57
                                                   Alpharetta, GA 30022
12                                                 Telephone: (404) 855-3867
                                                   Email: cortneyalexander@kentrisley.com
13
                                                Of Attorneys for Plaintiff
14

15

16                                             ORDER

17          Having reviewed the stipulation of the parties, the Court ORDERS that Defendant Inspur
18   Systems, Inc. may have an extension of 30 days to November 29, 2021, in which to answer the
19   Complaint for Patent Infringement.
20          Dated this 29th day of October, 2021.
21

22                                              A
                                                Barbara Jacobs Rothstein
23                                              U.S. District Court Judge
24

25

26

                                                                    MERRICK, HOFSTEDT & LINDSEY, P.S.
     STIPULATED AGREEMENT AND ORDER TO EXTEND DEADLINE                     ATTORNEYS AT LAW
     FOR FILING ANSWER BY INSPUR SYSTEMS, INC. - 2                    3101 WESTERN AVENUE, SUITE 200
                                                                       SEATTLE, WASHINGTON 98121
     Case No. 2:21-cv-01332-MLP                                               (206) 682-0610
